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              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF HAWAI'I

 R.P.-K., through his parent C.K.,     Case No. 10-00436 SOM-KSC
 R.T.D., through his parents R.D.
 and M.D., B.P., through her           MEMORANDUM REGARDING
 parent M.P., and C.B., through        (1) THE SIZE OF THE CLASS,
 his parent N.B., for themselves       AND (2) THE PROCESS FOR
 and on behalf of a class of those     DETERMINING THE CLASS
 similarly situated, and the           MEMBERS’ ENTITLEMENT TO
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 HAWAII DISABILITY RIGHTS                 COMPENSATORY EDUCATION;
 CENTER, in a representative              EXHIBITS "A" – "C";
 capacity on behalf of its clients        CERTIFICATE OF SERVICE
 and all others similarly situated,

                  Plaintiffs,

            vs.

 DEPARTMENT OF EDUCATION,
 State of Hawai`i,

                  Defendant.


             MEMORANDUM REGARDING (1) THE SIZE OF THE
             CLASS, AND (2) THE PROCESS FOR DETERMINING
                THE CLASS MEMBERS’ ENTITLEMENT TO
                      COMPENSATORY EDUCATION

 I.         INTRODUCTION

                  Last summer, the Ninth Circuit made clear that the Class

 Members were entitled to a free and appropriate public education

 (“FAPE”) under the Individuals with Disabilities Education Act

 (“IDEA”) until they turn 22, not 20, as prescribed by Act 163.

                  As the DOE has acknowledged, the Class includes all

 IDEA-eligible persons who (a) were under age 22, on July 1, 2010,

 and (b) became ineligible for Special Education and Related Services

 under IDEA as a result of Act 163.




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            Within this Class, there are two groups with different

 entitlements. On one hand, there are those who are now 20 or

 below whose right to a FAPE was never interrupted as a result of

 Act 163 (the “Young Class Members”); they are entitled to continued

 services as a result of this litigation, but they have no need for

 compensatory services.

            On the other hand, there are others (some of whom are

 nearing age 26) whose right to a FAPE was ended prematurely due

 to Act 163. The majority of class members are in this latter group

 (the “Older Class Members”). Their sole remedy will be

 compensatory education, since IDEA does not support a claim for

 damages.

            The DOE is taking at least two—and perhaps three--

 erroneous positions that require the Court’s attention. First, it

 contends that there are only 441 Older Class Members. Second, it

 appears that (perhaps) the DOE contends that it, alone, is to

 determine the size of the Class. Third, and most importantly, the

 DOE contends that the Older Class Members have received all the

 relief they ever sought, the case has been resolved, and the

 provision of compensatory education services to the Older Class


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 Members is purely an administrative matter and no concern to

 Class Counsel or Court.

               Plaintiffs reject the DOE’s position regarding the size of

 the Class because statistics the DOE submitted to the U.S.

 Department of Education for the relevant school years show that

 the Class is many times larger than the DOE has claimed.

               In that regard, if the DOE is contending that it, alone,

 decides who is within the Class, it is plainly wrong. Class

 membership is clearly a matter for the Court to determine.

               Finally, Plaintiffs reject the DOE’s claim that this case is

 “over” and the class member's rights are to be addressed extra-

 judicially by the DOE. The controlling case law establishes that

 compensatory education for the class members is a judicial remedy,

 not part of any administration process. A master should be

 appointed to implement this remedy for all of the Older Class

 Members.

 II.        STATEMENT OF FACTS

               The DOE claims there are only 441 Older Class Members.

 However, statistics it provided to the U.S. Department of Education

 tell an entirely different story. Specifically, the DOE’s submissions


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 (see http://hidoereports.k12.hi.us/IDEAPartB/Pages/default.aspx) show the

 following regarding the class members during the relevant school

 years:

 School Year       Aged Out        Certificate         Dropout        Total
                   (18‐20)
 2008‐09           216             24                  41             281
 2009‐10           69              107                 245            421
 2010‐11           35              119                 127            281
 2011‐12           41              147                 150            338
 2012‐13           80              138                 199            417
 2013‐14           ?               ?                   ?              ?
 2014‐15           ?               ?                   ?              157 (?)1
 Totals            431+            535+                762+           1885+


 Whether special-education-eligible dropouts are included or not,2

 there are many more Older Class Members than the DOE has

 acknowledged.

               Plaintiffs have repeatedly (through emails) asked the DOE

 to explain both (1) how it determined there are only 441 class




 1 This number—which seems suspiciously low—is from the DOE's
 presentation seeking additional funding for the 2014-15 budget.
 Exhibit A, attached.

 2 Dropouts are appropriately included since (a) they retained their
 right to re-enroll and resume their education at any time, and (b)
 due to Act 163, they were misinformed about their rights to
 continuing education at the time they left school. They are, at
 minimum, all entitled to an offer of compensatory education—
 whether they choose to participate is another matter.

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 members, and (2) how it explains the disparities between its current

 calculations and the information provided to the U.S. Department of

 Education. See Exhibits B and C. DOE has not given any

 meaningful response to these inquiries. It is necessary for the

 Court to act.

 III.       ARGUMENT

            A.   THE DOE CANNOT ALONE DECIDE CLASS
                 MEMBERSHIP

                 According to the DOE, the size of the Class was

 determined based on its "review of data related to every individual

 student." (See Exhibit B) The unexplained discrepancies in the

 DOE's "official" data and its reports to this Court make it clear that

 the DOE's "review" was inadequate and the Court must be engaged

 in determining class membership.

            B.   CASE LAW SUPPORTS AN AWARD OF
                 COMPENSATORY EDUCATION

                 Under the IDEA, district courts have the power to “grant

 such relief as the court determines is appropriate.” 20 U.S.C. §

 1415(e)(2) (2014). It is well-settled in the Ninth Circuit that

 compensatory education services can be awarded as “appropriate

 equitable relief” for violations of the IDEA. Park ex rel. Park v.


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 Anaheim Union High Sch. Dist., 464 F.3d 1025, 1033 (9th Cir.

 2006). Compensatory education is "designed to ensure that the

 student is appropriately educated within the meaning of the

 [Individuals with Disabilities Education Act].” Parents of Student W.

 v. Puyallup Sch. Dist., No.3, 31 F.3d 1489, 1497 (9th Cir. 1994).

 When a FAPE has been denied, “it may be a rare case when

 compensatory education is not appropriate.” Id.

            In crafting a plan for compensatory education, the court

 must determine the amount and type of compensatory education

 services needed. See R.P. v. Prescott Unified Sch. Dist., 631 F.3d

 1117, 1126 (9th Cir. 2011); G. v. Fort Bragg Dependent Sch., 343

 F.3d 295, 309 (4th Cir. 2003) (explaining that “compensatory

 education involves discretionary, prospective, injunctive relief

 crafted by a court”) (emphasis added)).

            Equitable considerations, including the conduct of both

 parties, are relevant in this process. Id. at 1496 (citing W.G. v.

 Board of Trustees of Target Range School Dist., 960 F.2d 1479, 1486

 (9th Cir. 1992) (quotations omitted)). The ultimate purpose of

 compensatory education is to make up for educational services the




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 child should have received in the first place3 and “to place disabled

 children in the same position they would have occupied but for the

 school district’s violations of the IDEA.” See, e.g., Prescott Unified

 Sch. Dist., 631 F.3d at 1125 (citations omitted); I.T. v. Dep't of Educ.,

 Civil No. 11-00676 LEK-KSC, 2013 U.S. Dist. LEXIS 176695, 2013

 WL 6665459, at *17 (D. Haw. Dec. 17, 2013) (citing Dep't of Educ.,

 Hawai'i v. Ria L., Civil No. 12-00007 HG-KSC, 2012 U.S. Dist.

 LEXIS 155484, 2012 WL 5383543, at *5 (D. Haw. Oct. 30, 2012)

 (citations omitted)).

            C.   THE COURT SHOULD RECOMMEND THE
                 APPOINTMENT OF A MASTER

                 Given the size of the Class and the complexity of the

 issues before the Court, a master should be appointed under FRCP

 53(a) to evaluate exactly what kind and how much compensatory

 education is needed for each Older Class Member. The

 appointment is appropriate to assist the court with assessing the




 3 The Older Class Plaintiffs have gone without academic services,
 speech-language services, audiology services, psychological
 services, physical and occupational therapy, counseling services,
 pre-vocational services, and other related services that are essential
 to their educational growth and well-being since before this action
 was commenced four years ago.

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 facts and helping the court arrive at the correct result. Porter ex rel.

 Porter v. Board of Tr. of Manhattan Beach Unified Sch. Dist., 123 F.

 Supp.2d 1187, 1194 (C.D. Calif. 2000), rev’d on other grounds, 307

 F3d 1064 (9th Cir. 2002), cert. denied, 537 US 1194 (2003).

               In fashioning a compensatory education award, the Court

 will need to address the difficult question of how the DOE’s

 violation of IDEA affected each class member. The Court will need

 to determine what future services are needed to place individual

 class members in the position that they would have occupied but

 for DOE’s failure to provide a FAPE. A master can assist the Court

 with these difficult and complex determinations and ensure that the

 compensatory education award takes into account the unique

 needs of each class member.

 IV.        CONCLUSION

               The Court should forthwith (1) order the DOE to provide

 the information needed to determine, with precision, the size of the

 Class; and (2) confirm that the determination of the Older Class

 Members’ entitlement to compensatory education is to be




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 determined by the Court, with a master, not by the DOE through

 any administrative process.

             DATED: Honolulu, Hawai`i, April 22, 2014.



                                     /s/ Paul Alston
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